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                                  UNITED STATES OF AMERICA
           IN THE WESTERN DISTRICT OF MICHIGAN – SOUTHERN DIVISION
Derek Antol, individually and as next friend of                  File No: 1:17-cv-613
DSAII, a minor, and Devon S. Antol, and Tryston Antol,
      Plaintiffs,
v.
Adam Dent, Kate Straus,                         Hon. Janet T. Neff
Casey Bringedahl, Casey Trucks,                 U.S. District Court Judge
Pete Kutches, and Western Michigan
Enforcement Team, a public
body organized under the laws of the
State of Michigan,
        Defendants,
___________________________________________________________________/
          PLAINTIFFS' OPPOSITION TO MOTION FOR SUMMARY JUDGMENT BY
              DEFENDANTS DENT, STRAUS, BRINGEDAHL, AND KUTCHES
                                  Attachment 2 – Derek Antol affidavit
STATE OF MICHIGAN                         )
                                          ) ss:
COUNTY OF MUSKEGON                        )
                                              AFFIDAVIT
           Derek S. Antol, being duly sworn, states:
     1.    Affiant is an adult and competent to testify to the assertions in the affidavit on personal

 knowledge unless otherwise noted.

     2.    I never received any type of tax assessment from the Michigan Department of Treasury

 as a result of the inspection of July 9, 2014.

     3.    Attachment A to this affidavit is an electric bill for 885 E. Apple Avenue for account

 number 1000 6177 0663 for one of the two meters at the location.

     4.    Attachment B to this affidavit is an electric bill for 885 E. Apple Avenue for account

 number 1000 6177 0739 for the other meter at the location.

 5.        Attachment C to this affidavit is the organization documents for the Greater Michigan
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Compassion Club filed with the Michigan Secretary of State.

 6.      Attachment D to this affidavit is the organization document for Deuces Wild Smoke

Shop filed with the Michigan Secretary of State.

 7.      Attachment E is a photograph of the signs by the door to the southern portion of the

building.

 8.      Attachment F is a copy of the IRS Form 1040 Schedule C for Deuces Wild I filed in for

tax year 2013.

 9.      Attachment G is a copy of the IRS Form 1040 Schedule C for Personal Care which was

the activity of Greater Michigan Compassion Club with me as the service provider I filed for tax

year 2013.

 10.     Attachment H is a true and accurate still shot from the video surveillance of the tax team

members first entering the building at 885 E. Apple Ave. on July 9, 2014 with Mr. Parolini being

the first one through the door. The time stamp is accurate and shows them entering at 1:05:00

p.m.

 11.     Attachment I is a true and accurate still shot from the video surveillance of the arrival of

Defendants Dent and Straus with the search warrant. The time stamp is accurate and shows them

entering at 4:37:24 p.m.



      Further your affiant sayeth not.
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                                                             ATTACHMENT B
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                                                                 ATTACHMENT C
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                                                                 ATTACHMENT F
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                                                                  ATTACHMENT G
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                                                                ATTACHMENT H
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